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 UNITED STATES BANKRUPTCY COURT
 District of New Jersey
 Caption in Compliance with D.N.J. LBR 9004-1(b)
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 Counsel to the Plan Administrator
 In re:                                                              Chapter 11

 BED BATH & BEYOND INC., et al.,1                                    Case No. 23-13359 (VFP)

                                        Debtors.                     (Jointly Administered)


                                          ADJOURNMENT REQUEST

          1.        I, Colin R. Robinson, am the attorney for Michael Goldberg, Plan Administrator,

 and request adjournment of the following hearings for the reason set forth below:

                    a.           Debtors’ (I) Omnibus Objection to Certain Tax Claims and (II) Motion to
                                 Determine Tax Liability and Stay Proceedings [Docket No. 2156].

                    b.           Debtors’ Motion to Determine Tax Liability and Stay Proceedings [Docket
                                 No. 2157].

                    c.           Debtors’ (I) Second Omnibus Objection to Certain Tax Claims and (II)
                                 Motion to Determine Tax Liability and Stay Proceedings [Docket No.
                                 2180].



 1
  The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of the
 Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the website
 of the Debtor’s proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby.




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                    d.           Debtors’ Motion to Determine Tax Liability and Stay Proceedings as to
                                 Certain California Taxing Authorities [Docket No. 2181].

                    e.           Joint Motion of Texas Taxing Authorities to Compel Payment of Remaining
                                 Amounts Due on Year 2022 Ad Valorem Business Personal Property Taxes
                                 [Docket No. 2664].

                    Current hearing date and time: April 16, 2024, at 10:00 a.m.

                    New date requested: May 29, 2024, at 10:00 a.m.

                    Reason for adjournment request: The Plan Administrator continues to negotiate

 resolutions of pending tax claims and and no hearing is necessary at this time. The various taxing

 authorities have consented to or have no objection the adjournment.

          2.        Consent to adjournment:

                    [X]          I have the consent of all parties.

                    [ ]          I do not have the consent of all parties (explain below):

          I certify under penalty of perjury that the foregoing is true.

          Date: April 15, 2024                   /s/ Colin R. Robinson
                                                         Signature




          COURT USE ONLY:

          The request for adjournment is:

           X        Granted              New hearing date: 5/29 at 10am        Peremptory

                    Granted over objection(s)            New hearing date:                   Peremptory

                    Denied

                    IMPORTANT: If your request is granted, you must notify interested

                    parties who are not electronic filers of the new hearing date.




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